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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WISCONSIN


DONALD J. TRUMP FOR PRESIDENT,
INC.,

               Plaintiff,

       v.                                                 Case No. 20-cv-00385-WMC
NORTHLAND TELEVISION, LLC, d/b/a
WJFW-NBC,

               Defendant.


                  PLAINTIFF’S OPPOSITION TO MOTION TO DISMISS


                                        INTRODUCTION

       Defendant’s motion to dismiss must be denied. Accepting all allegations of the

Complaint as true and drawing all reasonable inferences therefrom in favor of plaintiff, as this

Court must, the Complaint states a claim for defamation against the defendant. The defamation

at issue in this case is a falsified, manufactured statement contained in a television advertisement

broadcast by defendant. Such falsified statement was comprised of audio of candidate Trump’s

own words at a campaign rally, but such words were synthetically altered to form a sentence that

candidate Trump never said:

                       The coronavirus, this is their new hoax.

       This false statement is defamatory of the Trump Campaign. Candidate Trump did not

make this statement. Yet it was intentionally crafted by Priorities USA (“PUSA”) to deceive

viewers of the ad into believing he did. The opening of the PUSA ad (as defined below) presents

audio of candidate Trump purportedly making this statement by stitching together separate audio

clips of his voice saying, from multiple sentences and sources: “the coronavirus,” immediately
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followed by “this is their new hoax.” To ensure the deception is complete and to compound the

falsity, the text of the manufactured statement appears on screen at the same time the stitched-

together audio clips are played. The text shows these words together as a single sentence, with

capital “T” in “the,” a comma after “The coronavirus,” and a period after “new hoax.” Each and

every other audio segment in the advertisement is a full sentence accompanied by a textual

sentence that matches the audio clips, leading the viewer to believe that at each point in the

advertisement, the textual representation is accurate and reflects full and complete sentences.

       The PUSA ad’s manufactured statement is false because it presents audio and text of a

statement by candidate Trump that he never made. This is admitted by defendant. Defendant

does not contend that the manufactured statement was uttered by candidate Trump.

       The false, manufactured statement is a statement of and concerning the Trump Campaign

because it is presented as a statement actually made by candidate Trump at a campaign rally of

the Trump Campaign in the midst of his re-election campaign. It defamed the Trump Campaign

to falsely state that candidate Trump made the manufactured statement when he didn’t. The

false, manufactured statement is defamatory of the Trump Campaign because it expresses that

candidate Trump proclaimed the coronavirus to be a “hoax.” It has a tendency to deter persons

from associating with the Trump Campaign. Indeed, the falsified statement has been utilized as

a point of attack by opponents of the Trump Campaign, and has a tendency to cause voters to not

support or vote for the Trump Campaign’s candidate.

       The Complaint alleges that WJFW-NBC acted with reckless disregard as to the falsity of

the manufactured statement in the PUSA ad. The day after the ad began airing, plaintiff

provided WJFW-NBC with detailed information demonstrating the falsity of the manufactured

statement, including multiple determinations of falsity by independent third-party fact checkers.



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The Trump Campaign sent defendant a cease and desist letter specifically detailing that the

manufactured statement was never said by candidate Trump and it falsely represents a statement

that he never made. It provided detailed information establishing that third-party independent

fact checkers categorically confirmed that the manufactured statement was false. These fact

checkers made this analysis weeks before defendant’s airing of the ad after pundits inaccurately

characterized candidate Trump’s words at the campaign rally, in late February, and after an ad

released by Joe Biden on March 3rd including the same false, manufactured statement later

included in the PUSA ad.

       WJFW-NBC therefore had notice and reason to know of the falsity when it first aired the

PUSA ad, and it was given substantial evidence of the falsity and a cease and desist demand the

next day. Despite overwhelming proof of the falsity, which readily is confirmed by viewing the

PUSA ad and the campaign speech from which the clips audio were drawn, defendant chose to

continue broadcasting the ad, accepting PUSA’s purchase of advertising time, airing the PUSA

ad at least 36 more times after notice of falsity.

       To dismiss this action at this juncture would be to endorse false manipulation of the news

and intentional deception of the public. Defendant invokes the First Amendment repeatedly

throughout its brief, seeking safe haven there for the admittedly falsified statement. In fact,

defendant will find no solace or protection in the First Amendment. The First Amendment does

not protect known lies, and publishing fabricated statements establishes actual malice. Indeed,

the falsified advertising statement offends the First Amendment, because it deceives and

misleads the public, using technology to create false facts that, through viral distribution, become

accepted as true. The technological tools available at everyone’s fingertips today allow all

persons – professional broadcasters and at-home bloggers alike – to potentially create and



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manipulate the news by falsifying audio recordings or manipulating visual images. The danger

of falsified audio and video, “deepfakes,” is substantial and deepfakes are rapidly polluting our

information universe. See “What are deepfakes – and how can you spot them?,” The Guardian

(Jan. 13, 2020) (“The AI firm Deeptrace found 15,000 deepfake videos online in September

2019, a near doubling over nine months.”), available at

https://www.theguardian.com/technology/2020/jan/13/what-are-deepfakes-and-how-can-you-

spot-them

          For the foregoing reasons, and as more fully discussed below, the Complaint states a

claim for defamation against WJFW-NBC upon which relief may be granted. Accordingly, the

motion to dismiss must be denied.

                                     FACTUAL ALLEGATIONS

          This case concerns a false and defamatory television advertisement produced by

Priorities USA (“the PUSA ad”)1 that was broadcast by defendant Northland Television, LLC

d/b/a WJFW-NBC (“defendant” or “WJFW-NBC”), thereby causing material harm to plaintiff

Donald J. Trump for President, Inc. (“plaintiff” or the “Trump Campaign”). (Doc.1-2: 4-6, 7-8,

16-18, 19, 20, 23-25); (Compl. ¶¶ 1-4, 9-16, 53-59, 67-68, 73-75, Ex. A). The advertisement,

entitled “Exponential Threat,” through the use of manufactured and synthetic audio and

accompanying subtitles, maliciously puts a false statement into President Trump’s mouth: “The

coronavirus, this is their new hoax.” (Doc.1-2: 4-5, 5-6, 9-10, 18); (Compl. ¶¶ 1, 3, 22-30, 61)

(emphasis added). The PUSA ad as broadcast by WJFW-NBC falsely pieced together the

separate audio clips “The coronavirus” and “this is their new hoax” to create an audio clip of

candidate Trump saying those words all together, as one sentence. (Doc.1-2: 10); (Compl. ¶ 26).


1
    WJFW-NBC asserts that the PUSA ad was produced by PUSA. (Doc.9: 11).

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The PUSA ad compounds this falsity by displaying text representing that these words were said

together. (Id.)

         The Complaint alleges that WJFW-NBC knew or should have known that the PUSA ad

was produced through the use of technology that depicted a clearly false statement. (Doc.1-2: 4-

6, 15-17, 19-20, 59-64); (Compl. ¶¶ 1, 3, 47-57, 69-72, Ex. G). The day after the PUSA ad

began airing on WJFW-NBC, the Trump Campaign sent WJFW-NBC a cease and desist letter

that detailed the false and manufactured stitched-together audio clips in the PUSA ad and

demanded the station to cease broadcasting the ad. (Doc.1-2: 5-6, 15-18, 18-19); (Compl. ¶¶ 2-3,

47-59, 69-72). Notwithstanding that specific proof of falsity, WJFW-NBC nevertheless

continued broadcasting the PUSA ad, airing it at least 36 more times. (Doc.1-2: 15); (Compl.

¶ 51).

         A.       Plaintiff, the Trump Campaign

         The Trump Campaign is an authorized committee of presidential candidate Donald J.

Trump (“candidate Trump”) as defined by 11 CFR § 9032.1(a). (Doc.1-2: 6); (Compl. ¶ 4). The

Trump Campaign has operated President Trump’s reelection campaign for the 2020 Presidential

election since January 20, 2017. (Id.)

         Donald J. Trump is the Trump Campaign’s candidate for the 2020 Presidential Election.

(Doc.1-2: 7); (Compl. ¶ 9). Pursuant to 52 U.S.C. § 30102(e)(1) and (3), candidate Trump has

established “Donald J. Trump for President, Inc.” as his principal campaign committee. (Doc.1-

2: 7); (Compl. ¶ 10). The Trump Campaign is responsible for, among other things, coordinating

and organizing political and fundraising appearances, creating and/or purchasing political

advertising on behalf of the candidate, collecting contributions for the candidate and reporting

them to federal regulators as required by law, and making expenditures on behalf of the



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candidate, each and all for the sole purpose of re-electing its candidate as President of the United

States. (Doc.1-2: 7); (Compl. ¶ 11).

        Candidate Trump is one of many people authorized to speak and who does speak on

behalf of the Trump Campaign. (Doc.1-2: 7); (Compl. ¶ 12). The purported statements of any

authorized speaker alleged to have been made on behalf of the Trump Campaign impact the

Trump Campaign. (Id.)

        The Trump Campaign’s effort to raise money and acquire votes necessarily rests on its

and its candidate’s reputation. (Doc.1-2: 7); (Compl. ¶ 15). The public activities and statements

made by the Trump Campaign’s candidate while on the campaign trail are a material activity of

the Trump Campaign, reflect upon the Trump Campaign, impact the candidate’s ability to raise

money and his chances for reelection, and thereby directly affect the fundamental trade and

profession of the Trump Campaign. (Doc.1-2: 8); (Compl. ¶ 16). Those communications

express to voters information upon which voters may consider and make the determination

whether to cast their vote for the Trump Campaign’s candidate. (Id.)

        B.       WJFW-NBC

        WJFW-NBC is a broadcast television station licensed by the Federal Communications

Commission. (Doc.1-2: 8); (Compl. ¶ 17). As a licensed broadcast TV station, under the

Communications Act of 1934, WJFW-NBC has an obligation to operate in the public interest.

(Doc.1-2: 8); (Compl. ¶ 18). Within this obligation, WJFW-NBC has a responsibility to protect

the public from false, misleading, and deceptive advertising. (Id.)

        Unlike the qualified campaign committees of candidates for public office,2 third parties

such as PUSA have no right under the Communications Act to command the use of broadcast


2
  FCC regulations require that licensees “allow reasonable access to or to permit purchase of reasonable amounts of
time for the use of a broadcasting stations…by a legally qualified candidate.” 47 U.S.C. § 312(a)(7) (emphasis

                                                         6
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facilities to air their advertisements. (Doc.1-2: 8); (Compl. ¶ 19). That is, WJFW-NBC may

refuse to air the advertising of third parties such as PUSA and it may censor such ads.3 (Id.)

         As a licensed broadcast TV station, WJFW-NBC has the authority—indeed, the

obligation—to ensure that advertisements such as the PUSA advertisement are not false,

misleading, or deceptive. (Doc.1-2: 8); (Compl. ¶ 20). WJFW-NBC is subject to liability under

the law for false and defamatory statements contained in advertising aired by persons other than

candidates’ campaign committees, such as the PUSA advertisement. (Doc.1-2: 8); (Compl.

¶ 21).

         C.        The PUSA Advertisement

         The PUSA ad, a television advertisement created or produced by PUSA, began airing on

WJFW-NBC on March 24, 2020. (Doc.1-2: 9); (Compl. ¶ 22). The PUSA ad takes audio clips

of candidate Trump and pieces them together to manufacture a false statement that was not made

by the President: “The coronavirus, this is their new hoax.” See PUSA, “Exponential Threat”

available at https://www.youtube.com/watch?v=aK0KPNPveYY (Last visited May 27, 2020).

(Doc.1-2: 9); (Compl. ¶ 23).

         The PUSA ad takes audio clips from a speech given by candidate Trump on February 28,

2020 at a campaign rally for the Trump Campaign in Charleston, South Carolina (the “South




added). Further, while not required to provide any airtime to candidates, if a licensee “permit[s] any such candidate
to use its facilities, it shall afford equal opportunities to all other candidates for that office to use such facilities.” 47
CFR § 73.1941(a). This does not extend to advertising and other materials to broadcast by non-candidates, such as
political action committees (PACs).
3
  See Felix v. Westinghouse Radio Stations, 186 F.2d 1, 6 (3d Cir. 1950) (“Since Section 315 applies only to the use
of a radio station by a candidate himself and not to such use by his supporters it follows that the section did not
prohibit the defendants from censoring Meade's speeches. The defendants are, therefore, not entitled to assert the
defense that they are not liable because the speeches could not have been censored without violating Section 315
and that accordingly they were not at fault in permitting the speeches to be broadcast.”)

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Carolina Campaign Speech”). (Doc.1-2: 9); (Compl. ¶ 24).4

        Contrary to the PUSA ad as broadcast by WJFW-NBC, the South Carolina Campaign

Speech does not contain the statement: “The coronavirus, this is their new hoax.” (Doc.1-2: 9);

(Compl. ¶ 25). Candidate Trump did not make this statement.

        The PUSA ad as broadcast by WJFW-NBC falsely pieced together the separate audio

clips “The coronavirus” and “this is their new hoax” to create an audio clip of candidate Trump

saying those words together, as one sentence. (Doc.1-2: 10); (Compl. ¶ 26). The PUSA ad

compounds this falsity by visually displaying text representing to the viewer that these words

were said together. (Id.)

        The PUSA ad also displays subtitles of text that match with the words in the audio clips.

(Doc.1-2: 10); (Compl. ¶ 27). In relevant part, the PUSA ad displays the following text: “The

coronavirus,” then immediately following, displays the text: “this is their new hoax.” (Doc.1-2:

10); (Compl. ¶ 28). Screenshots of these frames of the PUSA ad are attached to the Complaint.

(Doc.1-2: 10, 23-25); (Compl. ¶ 28, Ex. A). The phrase “The coronavirus” begins with a

capitalized “T”, the “t” in “this” is lowercase, and the word “hoax” is followed by a period.

(Doc.1-2: 10); (Compl. ¶ 29).

        The PUSA ad intentionally creates a false message by manufacturing fake audio and

using such fake audio to create a false, captioned quotation, in both cases to make it appear as

though candidate Trump said the phrase “The coronavirus, this is their new hoax.” (Doc.1-2:

10); (Compl. ¶ 30). The pieced-together audio clips thus falsely represent that the candidate




4
 See President Donald J. Trump, Remarks at a Campaign Rally, Charleston, SC (Feb. 28, 2020), available at
https://www.c-span.org/video/?469663-1/president-trump-campaign-event-north-charleston-south-
carolina&start=405.2. See South Carolina Campaign Speech at timestamp 6:05 minutes to 8:11 minutes. (Id.)

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stated at a Trump Campaign rally that the coronavirus is a “hoax,” when in fact he did not make

that statement. (Id.)5

         WJFW-NBC broadcast the PUSA ad approximately forty-three times on WJFW-NBC

between March 24 and April 6, 2020. (Doc.1-2: 11); (Compl. ¶ 31).

         D.       Independent Fact Checkers Reject the “Hoax” Claim as False

         After the South Carolina Campaign Speech, from February 28, 2020 through March 2,

2020, pundits and authors falsely stated that candidate Trump called the coronavirus a “hoax” in

the speech. During that same time, independent fact-checkers and reporters published reports

and articles correcting that error, calling such characterization false. (Doc. 1-2: 11-12, 27, 29-34,

36-44); (Compl. ¶¶ 32-39, Exs. B-D). On March 3, 2020, weeks before the PUSA ad began

airing, presidential candidate Joseph Biden tweeted a campaign advertisement that included the

false, manufactured statement.

         Weeks before the PUSA ad began airing on WJFW-NBC, multiple independent fact-

checking organizations debunked and proved false the manufactured statement of the PUSA ad.

Candidate Trump did not say: “The coronavirus, this is their new hoax.”

         On February 28, 2020, after candidate Trump’s South Carolina Campaign Speech, Slate’s

Will Saletan explained, tweeting the following: “Trump’s use of the word ‘hoax’ tonight (7:45

in this video) referred to what he said a minute earlier: ‘The Democrats are politicizing the

coronavirus. …We did one of the great jobs.’ He was saying the hoax is that he’s handled it

badly. Not the virus itself.” (Doc.1-2: 11, 27); (Compl. ¶ 33, Ex. B).6




5
  The phrase “this is their new hoax” was stated, and it referred to the Democrats’ exploitation of a pandemic and
related characterization of the candidate’s response to the pandemic as inadequate. (Doc.1-2: 10); (Compl. ¶ 30).
6
  Tweet from Will Saletan (Feb. 28, 2020), available at https://twitter.com/saletan/status/1233600059025035265.
(Doc.1-2: 11, 27); (Compl. ¶ 33, Ex. B).

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        On February 29, 2020, Check Your Fact published an article entitled “Fact Check: Did

Trump Call The Coronavirus A ‘Hoax’ At His South Carolina Rally?” (Doc.1-2: 11, 29-34);

(Compl. ¶ 34, Ex. C).7 The Check Your Fact article analyzed a Politico “article claiming

President Donald Trump called the novel coronavirus a ‘hoax’ at his Feb. 28 campaign rally in

South Carolina.” (Doc.1-2: 11, 29-34); (Compl. ¶ 35, Ex. C).

        The quote from the Politico article was: “President Trump on Friday night tried to cast

the global outbreak of the coronavirus as a liberal conspiracy intended to undermine his first

term, lumping it alongside impeachment and the Mueller investigation.” (Doc.1-2: 12, 29-34);

(Compl. ¶ 36, Ex. C). The Check Your Fact article determined that the claim made by the

Politico article was “False.” (Doc.1-2: 12, 29-34); (Compl. ¶ 37, Ex. C).

        On March 1, 2020, in response to former Democratic presidential candidate Mike

Bloomberg’s comment that he “find[s] it incomprehensible that the President would do

something as inane as calling it a hoax, which he did last night in South Carolina,” CBS News’

Scott Pelley replied, “[h]e said the—the Democrats making so much of it is a Democratic hoax,

not that the virus was a hoax.” (Doc.1-2: 12); (Compl. ¶ 38).8 On March 2, 2020, Snopes, the

popular, self-described “definitive fact-checking resource,” published an article finding: “Trump

did not say in the passage above that the virus itself was a hoax.” (Doc.1-2: 12, 36-44); (Compl.

¶ 39, Ex. D).9

        The Biden advertisement, which contained the same manufactured statement, was

evaluated by fact checkers and concluded to be false. That advertisement, which was included in

7
  Brad Sylvester, “Fact Check: Did Trump Call the Coronavirus A ‘Hoax’ At His South Carolina Rally?” (“Check
Your Fact”) available at https://checkyourfact.com/2020/02/29/fact-check-donald-trump-coronavirus-hoax-south-
carolina-rally/ . (Doc.1-2: 11, 29-34); (Compl. ¶ 34, Ex. C).
8
  Scott Pelley, CBS Face the Nation, available at https://www.cbsnews.com/news/full-transcript-of-face-the-nation-
on-march-1-2020/. (Doc.1-2: 12); (Compl. ¶ 38).
9
  Bethania Palma, “Did President Trump Refer to the Coronavirus as a ‘Hoax’?” (Mar. 2, 2020) available at
https://www.snopes.com/fact-check/trump-coronavirus-rally-remark/. (Doc.1-2: 12, 36-44); (Compl. ¶ 39, Ex. D).

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an advertisement tweeted on March 3 by the Biden campaign, included the audio clips stitched

together to provide audio of candidate Trump saying the following words together: “The

coronavirus, this is their new hoax.” (Doc.1-2: 12); (Compl. ¶ 40). That was the same false,

manufactured audio clip of candidate Trump saying the coronavirus-hoax statement as contained

in the PUSA ad. (Doc.1-2: 13); (Compl. ¶ 41).

        On March 13, 2020, the Washington Post published an article entitled “Biden ad

manipulates video to slam Trump.” Meg Kelly, “Biden ad manipulates video to slam Trump,”

The Washington Post (Mar. 13, 2020) (emphasis added) (“Washington Post Article”). (Doc.1-2:

12, 45-51); (Compl. ¶ 40, Ex. E). The Washington Post Article analyzed the Biden ad posted in

a March 3rd tweet by the Biden campaign, including the false, manufactured audio clip of

candidate Trump saying the coronavirus-hoax statement as contained in the PUSA ad. See (id.)

        The Washington Post Article found that statement to be false. According to the fact-

checker from the Washington Post: “The full quote shows Trump is criticizing Democratic

talking points and the media’s coverage of his administration’s response to coronavirus. He

never says that the virus itself is a hoax, and although the Biden camp included the word ‘their,’

the edit does not make clear to whom or what Trump is referring.” (Doc.1-2: 13, 45-51);

(Compl. ¶ 42, Ex. E). The Washington Post gave the Biden ad “Four Pinocchios,” which is its

highest rating for false information. (Doc.1-2: 13, 45-51); (Compl. ¶ 43, Ex. E).

        PolitiFact, a popular fact-checking website, also rated as “False” the Biden ad including

the false, manufactured coronavirus-hoax audio clip (also later included in the PUSA ad).

(Doc.1-2: 13, 52-57); (Compl. ¶ 44, Ex. F).10 PolitiFact concluded that the Biden ad was a

“deceptively edited ad,” explaining that “Biden’s video is inaccurate. We rate it False.” The
10
   The PolitiFact article was authored by Daniel Funke and is entitled “Ad Watch: Biden video twists Trump’s
words on coronavirus,” (Mar. 15, 2020) available at https://www.politifact.com/factchecks/2020/mar/15/joe-
biden/ad-watch-biden-video-twists-trumps-words-coronavir/. (Doc.1-2: 13, 52-57); (Compl. ¶ 44, Ex. F).

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Biden ad was rated “False” because it included the false and manufactured “hoax” audio clip

statement. (Id.) The manufactured, false audio clip of the “hoax” statement in the Biden ad is

“an example of what the Washington Post calls ‘splicing,’ or ‘editing together disparate videos’

that ‘fundamentally alters the story that is being told.’ ” (Id.)

       E.        The Cease and Desist Letter

       Despite the overwhelming information in the public domain calling out the manufactured

statement as false in the March 3rd Biden advertisement and refuting the suggestion that

candidate Trump called the coronavirus a hoax at the campaign speech, WJFW-NBC

nevertheless accepted PUSA’s purchase of advertising time and it chose to broadcast the PUSA

ad. The PUSA ad was first broadcast on WJFW-NBC on March 24, 2020. (Doc.1-2: 11);

(Compl. ¶ 11).

       Since defendant was not deterred by the overwhelming proof of falsity of the PUSA ad’s

opening statement, the Trump Campaign was forced to contact WJFW-NBC to demand that it

cease airing the ad. The next day, March 25, 2020, the Trump Campaign sent the Cease and

Desist Letter to Steve Shanks, General Manager of WJFW-NBC, informing him that the PUSA

ad is “false, misleading and deceptive.” (Doc.1-2: 15, 59-64); (Compl. ¶ 47, Ex. G). The Cease

and Desist Letter explained, in relevant part, that the PUSA ad stitched together audio clips from

candidate Trump’s statements to fraudulently and maliciously represent that he called the

coronavirus pandemic a “hoax.” (Doc.1-2: 15, 59-64); (Compl. ¶ 48, Ex. G). The Cease and

Desist Letter referenced and attached source material from “multiple independent fact-checking

organizations [that] have debunked the core claim of the PUSA ad.” (Doc.1-2: 15, 59-64);

(Compl. ¶ 49, Ex. G).




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         The Cease and Desist Letter was sent by Federal Express and e-mail on March 25.

(Doc.1-2: 15, 59-64); (Compl. ¶ 50, Ex. G). That same day, the Trump Campaign received a

response to the e-mail from WJFW-NBC’s General Manager within three hours, who confirmed

receipt of the letter and stated that the station “is consulting with legal.” (Id.)

         WJFW-NBC did not correspond further with the Trump Campaign beyond that response.

(Doc.1-2: 15, 59-64); (Compl. ¶ 51, Ex. G). WJFW-NBC continued to run the PUSA ad,

broadcasting the PUSA ad thirty-six more times from March 26, 2020 through April 6, 2020.

(Id.) For example, WJFW-NBC broadcast the PUSA ad ten times on April 6, 2020. (Id.)

                                   MOTION TO DISMISS STANDARD

         Federal Rule of Civil Procedure 8(a)(2)11 requires a plaintiff to set forth “a short and

plain statement of the claim showing that [he or she] is entitled to relief.” While it need not

contain all relevant specific factual allegations and legal arguments, at minimum, a complaint

must include allegations that “ ‘state a claim for relief that is plausible on its face.’ ” Justice v.

Town of Cicero, 577 F.3d 768, 771 (7th Cir. 2009) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009); Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). In reviewing the Complaint, the

Court must accept as true the facts as pled by the plaintiff and will “draw all reasonable

inferences in favor of the plaintiff.” Palka v. Shelton, 623 F.3d 447, 452 (7th Cir. 2010). “ ‘It is

not necessary for plaintiff to plead specific facts but plaintiff must give defendants fair notice of

the claims against them and the grounds supporting her claims.’ ” More v. Callahan, 2013 WL



11
  Plaintiff has moved to remand this action to state court because the Court lacks subject matter jurisdiction.
(Doc.13); (Doc.14); (Doc.15); (Doc.15-1-15-17). The Court does not have the power to decide defendant’s motion
to dismiss if it has no subject matter jurisdiction. The Court should refrain from taking any action upon the
dismissal motion unless and until it denies the motion to remand and determines subject matter jurisdiction in this
Court. Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 94–95 (1998) (court must determine subject matter
jurisdiction as threshold matter); see also Cook v. Winfrey, 141 F.3d 322, 325 (7th Cir. 1998) (“It is axiomatic that a
federal court must assure itself that it possesses jurisdiction over the subject matter of an action before it can proceed
to take any action respecting the merits of the action.”).

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4718333, at *3 (W.D. Wis. Sept. 3, 2013) (quoting Stanard v. Nygren, 658 F.3d 792, 797 (7th

Cir. 2011) (citations omitted)).

         The U.S. Supreme Court has explained that a “claim has facial plausibility when the

plaintiff pleads factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged,” Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S.

at 556), and the factual allegations in the complaint must be “enough ‘to raise a right to relief

above the speculative level.’ ” DeKeyser v. Thyssenkrupp Waupaca, Inc., 589 F. Supp. 2d 1026,

1029 (E.D. Wis. 2008) (quoting Twombly, 550 U.S. at 555). “The plausibility standard is not

akin to a ‘probability requirement,’ but it asks for more than a sheer possibility that a defendant

has acted unlawfully.” Allen-Noll v. Madison Area Tech. Coll., 2018 WL 6834477, at *4 (W.D.

Wis. Dec. 28, 2018).12 “Motions to dismiss are construed in the light most favorable to the

plaintiff.” Hamus v. Bank of New York Mellon, 2011 WL 13266806, at *4 (W.D. Wis. May 13,

2011).

         These principles apply equally in this case. Plaintiff is entitled to the same favorable

inferences for its Complaint in this defamation action, as this Court explained in denying a

motion to dismiss a defamation complaint:

         “A motion to dismiss under Federal Rule of Civil Procedure 12(b)(6) challenges
         the sufficiency of the complaint for failure to state a claim upon which relief can
         be granted.” Diamond Ctr., Inc. v. Leslie’s Jewelry Mfg. Corp., 562 F. Supp. 2d
         1009, 1013 (W.D. Wis. 2008). In “[e]valuating the sufficiency of the complaint,
         [the court] construes it in the light most favorable to the nonmoving party,
         accept[s] well-[pleaded] facts as true, and draw[s] all inferences in her favor.”
         Cincinnati Life Ins. Co. v. Beyrer, 722 F.3d 939, 946 (7th Cir. 2013). A plaintiff
         need not provide detailed factual allegations, but must provide enough facts to
         state a claim that is plausible on its face and allow the “court to infer more than


12
  “A failure to identify a proper legal theory does not necessarily require dismissal of the complaint. Hatmaker v.
Memorial Medical Center, 619 F.3d 741, 743 (7th Cir. 2010); However, the facts alleged in the complaint must
support a claim under some legal theory. Bartholet v. Reishauer A.G. (Zurich), 953 F.2d 1073, 1078 (7th
Cir.1992).” Brodzki v. Wisconsin, 2011 WL 1576388, at *1 (W.D. Wis. Apr. 26, 2011).

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       the mere possibility of misconduct.” Ashcroft v. Iqbal, 556 U.S. 662, 679, 129 S.
       Ct. 1937, 173 L.Ed.2d 868 (2009).

Amoroso v. Schuh, 278 F. Supp. 3d 1106, 1111 (W.D. Wis. 2017).

       Accepting as true all facts alleged in the Complaint and all reasonable inferences

therefrom, the Complaint states a claim for defamation upon which relief may be granted against

WJFW-NBC. It sets forth in detail allegations establishing the elements of a defamation claim.

It does not rely upon mere “recitals of the elements of a cause of action, supported by mere

conclusory statements.” Iqbal, 556 U.S. at 678. Although it is “not bound to accept as true a

legal conclusion couched as a factual allegation[,]” the court is required to accept all factual

allegations as true. Papasan v. Allain, 478 U.S. 265, 286 (1986).

                                           ARGUMENT

I.     The First Amendment Does Not Protect Known Lies.

       Defendant’s dismissal brief leans heavily upon the First Amendment, arguing that speech

concerning the performance of public officials in public office and statements in election

campaigns are core political speech. (Doc.9: 8, 18, 26-27, 30). The First Amendment is indeed

aimed at ensuring that public debate is wide-open and robust. Defendant argues that this action

is an attempt to “chill” speech, and is a defamation action designed to punish speech that is

legitimate criticism in an election campaign. (Id.) That is not true. This case is not based on

public debate protected by the First Amendment. It is based upon a TV station’s knowing

broadcast of a false, manufactured statement after receiving constructive and actual notice of its

falsity. Broadcast of known falsity finds no haven in the First Amendment.

       The actual malice standard is generally applied to defamation of public officials and

public figures given the country’s “profound national commitment to the principle that debate on

public issues should be uninhibited, robust, and wide-open, and that it may well include


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vehement, caustic, and sometimes unpleasantly sharp attacks on government and public

officials.” New York Times v. Sullivan, 376 U.S. 254, 270 (1964).

       However, this case does not involve statements critical of a political candidate

implicating these core First Amendment values. Rather, the false statement in this case was a

manufactured, false statement that the producer knowingly manufactured to literally put words in

the candidate’s mouth, to deceive the public into believing that the candidate said “The

coronavirus, this is their new hoax.” – combining disparate audio clips to represent that the

statement was made by the candidate when it was not.

       Indeed, in these times, the dangers of falsified news and manufactured and manipulated

audio and video are extreme, and ever increasing. The Supreme Court in 1964 could not have

even imagined how polluted and even dangerous the national and worldwide information

ecosystem would become. “Deepfakes” are “[a] devastating new tool in the disinformation wars

[and are] poised to be deployed on a large scale that may soon supplant memes and fake news as

industry standards for perverting truth and accuracy in the age of digital confrontation.”

“Deepfakes Are Very Real -- And Very Dangerous,” Forbes (Oct. 16, 2019), available at

https://www.forbes.com/sites/theyec/2019/10/16/deepfakes-are-very-real-and-very-

dangerous/#2b5139c9493f

       Supreme Court justices may not have been technological futurists in 1964, but as is often

the case, the Court’s First Amendment jurisprudence was prescient. The Court always cautioned

of the price of free speech, and clearly stated that the First Amendment provides no haven for

knowing lies such as the stitched-together false audio and textual statement in the PUSA ad.

Such knowing falsity is not protected by the First Amendment and it finds no safe harbor in the

actual malice standard. As the U.S. Supreme Court held in Gertz v. Welch, Inc., 418 U.S. 323,



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340 (1974): “[T]here is no constitutional value in false statements of fact. Neither the

intentional lie nor the careless error materially advances society’s interest in ‘uninhibited, robust,

and wide-open’ debate on public issues.”

          Known lies are a danger to democracy and thus they are not protected by the First

Amendment, as one court explained:

          The First Amendment, however, does not afford defamatory political speech
          absolute immunity. See id. at 455, 548 S.E.2d at 876; Stevens v. Sun Publ’g Co.,
          270 S.C. 65, 71, 240 S.E.2d 812, 815 (1978) (“An individual’s status as a public
          figure does not immunize a publisher from liability when it prints defamatory
          articles with malice.”); Harte–Hanks Communications, Inc. v. Connaughton, 491
          U.S. 657, 688, 109 S. Ct. 2678, 105 L.Ed.2d 562 (1989) (“We have not gone so
          far ... as to accord the press absolute immunity in its coverage of public figures or
          elections.”).

          As the Supreme Court has stated:

                 That speech is used as a tool for political ends does not automatically
                 bring it under the protective mantle of the Constitution. For the use of the
                 known lie as a tool is at once at odds with the premises of democratic
                 government and with the orderly manner in which economic, social, or
                 political change is to be effected. Calculated falsehood falls into that class
                 of utterances which “are no essential part of any exposition of ideas ....”
                 Hence the knowingly false statement and the false statement made with
                 reckless disregard of the truth [ ] do not enjoy constitutional protection.

          Garrison v. Louisiana, 379 U.S. 64, 75, 85 S. Ct. 209, 13 L.Ed.2d 125 (1964)
          (citation omitted); see Curtis Publ’g Co. v. Butts, 388 U.S. 130, 150, 87 S. Ct.
          1975, 18 L.Ed.2d 1094 (1967) (“[T]hat dissemination of information and opinion
          on questions of public concern is ordinarily a legitimate, protected and indeed
          cherished activity does not mean ... that one may in all respects carry on that
          activity exempt from sanctions designed to safeguard the legitimate interests of
          others.”).

Anderson v. The Augusta Chronicle, 585 S.E.2d 506, 513 (S.C. Ct. App. 2003) (emphasis

added).

          “ ‘[T]he actual-malice standard is not an impenetrable shield for the benefit of those who

engage in false speech about public figures.’ ” Boyce & Isley, PLLC v. Cooper, 568 S.E.2d 893,

901 (N.C. Ct. App. 2002), writ denied, review denied, appeal dismissed, 580 S.E.2d 361 (N.C.

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2003) (quoting McKimm v. Ohio Elections Comm., 729 N.E.2d 364, 373 (Ohio 2000)) (emphasis

added); see also Turner v. KTRK Television, Inc., 38 S.W.3d 103, 120 (Tex. 2000) (“This rule

stems from the actual malice standard’s purpose of protecting innocent but erroneous speech on

public issues, while deterring ‘calculated falsehoods.’ A publisher’s presentation of facts may be

misleading, even negligently so, but is not a ‘calculated falsehood’ unless the publisher knows or

strongly suspects that it is misleading.”) (citation omitted).

II.    The Manufactured Statement Was “Of and Concerning” the Campaign.

       On a motion to dismiss, the factual allegations of the Complaint are accepted as true and

all reasonable inferences must be drawn from those allegations. The Court must determine if a

plausible claim for defamation has been stated by those allegations. The elements of a claim for

defamation under Wisconsin law are: (1) a false statement; (2) communicated by speech,

conduct, or in writing to a person other than the one defamed; and (3) the communication tends

to harm one’s reputation, lowering him or her in the estimation of the community or deterring

third persons from associating or dealing with him or her. Ladd v. Uecker, 2010 WI App 28 ¶ 8,

323 Wis. 2d 798 (citing Torgerson v. Journal/Sentinel, Inc., 201 Wis. 2d 524, 534, 536 N.W.2d

472 (1997)). Additionally, the plaintiff must allege that defendant communicated the false

statement with actual malice, that is, knowledge of falsity or reckless disregard for the falsity of

the statement. Storms v. Action Wisconsin Inc., 2008 WI 56, ¶¶ 38-39, 309 Wis. 2d 704, 750

N.W.2d 739.

       Defendant suggests that the Court is a “gatekeeper” and defamation actions are

commonly decided on dismissal motions. That is not the case. Contrary to defendant’s

suggestion (Doc.9: 15), Torgerson v. Journal/Sentinel, Inc., 210 Wis. 2d 524, 538–39, 563

N.W.2d 472 (1997) did not hold that resolution on motions to dismiss is encouraged for



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defamation actions. In fact, Torgerson is a summary judgment case, suggesting that in some

circumstances defamation actions may be resolved on summary judgment. However, in

Torgerson the Court also noted that factual issues such as actual malice are not typically well

suited for decision on summary judgment. (Id. at 535-36).

       A.      The “Of and Concerning” Element.

       The defamatory communication must be “of and concerning” the plaintiff, meaning that a

recipient of the statement might reasonably understand that it was intended to refer to plaintiff.

Restatement (Second) of Torts § 564. This element is established on a motion to dismiss if a

reasonable person could believe that the published statement referred to the plaintiff. 3 Dobbs,

et. al, The Law of Torts § 527, at 199 (2d Ed. 2011). It is not necessary that all recipients

understood it that way, just that one recipient could have so understood it. Restatement § 564,

Comment b. It is an issue of fact for the jury to determine whether the statement was in fact

understood by at least one person to refer to the plaintiff. 3 Dobbs, et. al, The Law of Torts

§ 527, at 199 (2d Ed. 2011). Thus, in order to satisfy this element, the jury need only determine

that a single person believed the statement referred to the plaintiff. (Id.)

       WJFW-NBC contends that the Complaint must be dismissed, asserting that the false,

manufactured statement was not “of and concerning” the Trump Campaign. It argues that the

statement is “of and concerning” President Trump, not the Trump Campaign. (Doc.9: 16).

       This argument fails for several reasons. First, defamation need not mention the plaintiff

by name to be “of and concerning” the plaintiff. Second, a statement may be defamatory of

different persons at the same time; just because it arguably concerns one person does not mean it

does not also concern another person. Third, the “of and concerning” element is established here

because a reasonable viewer of the PUSA ad would understand that it concerns the Trump



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Campaign. The falsified statement was made stitching together disparate audio clips of words

said by candidate Trump at a campaign rally in South Carolina. (Doc.9: 10, 11-12). The

purported words or actions of a campaign’s candidate are on behalf of the campaign and the

campaign and candidate are inextricably intertwined for purposes of campaign statements by the

candidate. A listener or viewer of a false communication utilizing audio clips of the candidate

from a campaign speech would reasonably believe that the communication concerned the

campaign.

                  1.       A Defamatory Communication Need Not Mention the Plaintiff By
                           Name and It Can Defame More Than One Person.

         WJFW-NBC argues that the false, manufactured statement was not “of and concerning”

the Trump Campaign because it did not mention the campaign by name. (Doc.9: 11, 16, 18).

That, however, is not the law. It is well established that a defamatory statement need not

mention plaintiff by name to be of and concerning plaintiff.13 See Amoroso v. Schuh, 278 F.

Supp. 3d 1106, 1112–13 (W.D. Wis. 2017).

         A communication may be published under such circumstances as to be defamatory of a

person not named or described. Restatement § 564, Comment e. It is not necessary that the

plaintiff be referenced by name in the communication, it is enough that at least one person who


13
    Taj Mahal Travel, Inc. v. Delta Airlines, Inc., 164 F.3d 186, 189 (3d Cir. 1998) (defamatory statement need not
explicitly name plaintiff so long as it was reasonably understood by one third party to refer to plaintiff); Church of
Scientology of California v. Flynn, 744 F.2d 694, 697 (9th Cir. 1984) (“[t]here is no requirement that the person
defamed be mentioned by name.... It is sufficient if from the evidence the jury can infer that the defamatory
statement applies to the plaintiff ... [or] if the publication points to the plaintiff by description or circumstance
tending to identify him.”); Keohane v. Stewart, 882 P.2d 1293, 1300 n.10 (Colo. 1994) (“While the letter does not
refer to [plaintiff] by name, the evidence at trial established that the letter was widely understood as referring to
[plaintiff . . . .”); Croixland Properties Ltd. P’ship v. Corcoran, 174 F.3d 213, 216–17 (D.C. Cir. 1999) (“To satisfy
the ‘of and concerning’ element, it suffices that the statements at issue lead the listener to conclude that the speaker
is referring to the plaintiff by description, even if the plaintiff is never named or is misnamed.”); Caudle v.
Thomason, 942 F. Supp. 635, 638 (D.D.C. 1996) (“Even though the statements do not explicitly refer to Caudle,
Caudle may prevail if a listener would reasonably believe that the statements referred to him.”); Gosden v. Louis,
687 N.E.2d 481, 495 (Ohio Ct. App. 1996) (“A plaintiff need not have been specifically named in a libelous
statement to have been defamed.”).


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heard or read it reasonably understood it to concern the plaintiff. Restatement § 564, Comment

b; see Ogren v. Employers Reinsurance Corp., 119 Wis. 2d 379, 383, 350 N.W.2d 725 (Ct. App.

1984) (an article referring to an individual’s “family” could “therefore be reasonably understood

to refer to [his] mother and sister”).

        Additionally, WJFW-NBC asserts that the false, manufactured statement concerns

President Trump and, therefore, it cannot also be “of and concerning” the Trump Campaign or

the candidate. Again, this misapplies the law. A defamatory statement can defame more than

one person. A defamatory communication may concern more than one person.14 A

communication referring to one person can refer to another person as well, if a reasonable

recipient of the publication can and does interpret the communication as being in substance about

plaintiff. 3 Dobbs, et. al, The Law of Torts § 530, at 206 (2d Ed. 2011); see also Writers Guild

of Am., W., Inc. v. Superior Court for Los Angeles Cty., 78 Cal. Rptr. 520, 524 (Cal. Ct. App.

1969) (“The general rule is that when two or more persons are affected by the same defamatory

matter, the defamation is deemed several as to each of them, and each may therefore sue for it

independently of the other.”).

                 2.       An Individual May be Inextricably Intertwined With an Entity for
                          Purposes of a Defamation Claim.

        WJFW-NBC argues that statements about officers of a corporation are held to not be “of

and concerning” the corporation itself. (Doc.9: 12). That is not a rule; the determination

depends upon the allegations of the complaint. Courts have held that a corporate executive may

14
   Peagler v. Phoenix Newspapers, Inc., 560 P.2d 1216, 1222–23 (Ariz. 1977) (article held to refer to corporation
and the owner); Schiavone Const. Co. v. Time, Inc., 619 F. Supp. 684, 697 (D.N.J. 1985) (statements concerning
company also could be of and concerning the chief executive officer; corporation bore CEO’s last name); Klentzman
v. Brady, 456 S.W.3d 239, 254–55 (Tex. App. 2014) (article was defamatory of both chief sheriff’s deputy and his
son), aff’d, 515 S.W.3d 878 (Tex. 2017); Vasquez v. Whole Foods Mkt., Inc., 302 F. Supp. 3d 36, 66–67 (D.D.C.
2018) (Store team leaders for various Whole Foods grocery stores in the Washington, D.C., metropolitan area stated
a claim for defamation against Whole Foods for defamation although statements did not name plaintiffs and there
were more than 20 Whole Foods stores in the region).

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sue for defamation based upon statements about the corporation. For example, in Caudle v.

Thomason, the court held that Caudle, the chief executive officer and president of a corporation,

AOA, stated a claim for defamation for statements that accused the corporation of fraud and

corrupt practices but did not explicitly refer to Caudle. 942 F. Supp. 635, 638 (D.D.C. 1996).

The complaint alleged that Caudle “ ‘made all business decisions regarding corporate actions

which are the subject matter of [the] lawsuit.’ ” (Id. at 638.) The court was therefore “unable to

say that a reasonable listener . . . would not infer that [the plaintiff] was responsible for or

involved with the alleged wrongdoings.” (Id.) The allegations of fraud and corruption were, in

other words, not only about the plaintiff's company, but also about the individual plaintiff. See

also Jankovic v. Int’l Crisis Grp., 494 F.3d 1080, 1089 (D.C. Cir. 2007) (Statements defamatory

of corporate officers generally do not defame their corporations, and vice versa; “This principle

is not absolute, of course. If, for example, one person is solely in charge of corporate decision

making, an attack on a corporation would vicariously attack the decision maker.”)

        Moreover, even if statements about corporate officers are generally not considered “of

and concerning” the corporation, that is particular to business (for profit) corporations. A

different analysis applies to nonprofit corporations, as recognized by the Restatement (Second)

of Torts.

        Where a statement concerns an individual who is inextricably intertwined with a non-

profit or other organization lead by the individual, courts have held that a defamatory statement

concerning the individual may be “of and concerning” the entity for purposes of a defamation

claim. The Restatement recognizes that a non-profit corporation may bring a defamation action

for statements that prejudice the corporation in the estimation of the public. Restatement

(Second) of Torts § 561 (“A communication can be defamatory concerning a nonprofit



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corporation where it depends upon support from the public and the defamatory matter tends to

interfere with its activities by prejudicing it in the public’s estimation.”)

        For example, in Gorman v. Swaggart, 524 So. 2d 915 (La. Ct. App. 1988), a religious

non-profit corporation and its minister brought an action for defamation against defendants,

Jimmy Swaggart and other leaders and entities in the Assemblies of God organization. The

defamation action arose out of actions and events leading up to and following the dismissal

and/or resignation of Pastor Marvin Gorman from his position as a minister of the Assemblies of

God. (Id. at 917.) Gorman was pastor of the First Assembly of God Church in New Orleans and

a member of the national governing body of the Assemblies of God. (Id.) Gorman was also

president and founder of Marvin Gorman Ministries, Inc. (“MGM”), a non-profit religious

corporation which used television as a means to raise money and carry the corporation’s message

to the public. (Id.) Defendant Swaggart and others publicly accused Gorman of committing

immoral acts over a period of years. (Id.)

        Defendants moved to dismiss MGM’s defamation claims, arguing that “MGM could not

bring suit based upon allegedly defamatory statements made about Gorman but not about

MGM.” (Id. at 919.) The court rejected that argument, holding that the reputation of MGM,

Gorman’s ministry, was “inextricably tied to his personal reputation” and thus statements

defamatory of Gorman were defamatory of MGM, his ministry. As the court explained:

                This case is not like that of a business corporation seeking damages for
        statements made about the personal morality of one of its officers or a member of
        its board of directors in matters unrelated to business. Gorman’s personal
        reputation was one of MGM’s primary assets. By questioning his moral integrity,
        the integrity of the corporation itself was called into question. In many ways,
        defamation of Gorman was defamation of his ministry. He was its principal
        spokesman. It was with him that the public identified. His reputation for spiritual
        and moral integrity was the cornerstone on which the ministry was built. Attacks
        on Gorman, which included allegations that he embezzled MGM funds, could
        (and allegedly did) decrease contributions to MGM and lessen the confidence of

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         lenders in the stability and integrity of the ministry. Under these circumstances,
         we believe it was possible for MGM to be defamed by statements about Gorman
         even if MGM was not mentioned by name in those statements. For a discussion
         of this type of defamation see generally, W. Prosser, Handbook of the Law of
         Torts, Sec. 111, p.745 (4th ed. 1971) and Restatement of Torts 2d, Sec. 564,
         comment (e).

                 In our opinion, the reputation of Gorman’s ministry was inextricably tied
         to his personal reputation. . . .

(Id. at 919) (italics emphasis in original; underlining emphasis added).

                  3.       There are Many Examples of Campaign Committees as Plaintiffs or
                           Defendants in Defamation Actions.

         There are numerous examples of defamation actions and matters in other contexts in

which a candidate’s campaign committee is a plaintiff or defendant in a case involving

statements by or about the candidate or the campaign. Candidates’ personal campaign

committees have filed defamation actions as plaintiffs15, and have been sued as defendant in

defamation actions or other election related actions.16 Also, state election authorities will bring

election violation charges against campaign committees along with their candidates.17 Campaign

committees have been appropriate plaintiffs in other contexts as well.18


15
   See Valento v. Ulrich, 402 N.W.2d 809, 812 (Minn. Ct. App. 1987) (“[T]o the extent that the committee is a
proper party plaintiff, we treat it as a public figure.”); Goodson v. Republican State Leadership Comm. - Judicial
Fairness Initiative, 2018 WL 6430825 (E.D. Ark. Nov. 1, 2018) (Candidate and candidate’s campaign committee
plaintiffs in a defamation action for advertisement broadcast during an election.)
16
   See Boyce & Isley, PLLC v. Cooper, 673 S.E.2d 694, 696 (N.C. Ct. App. 2009) (A candidate and committee both
were defendants for the same act of the candidate); Boyce & Isley, PLLC v. Cooper, 568 S.E.2d 893 (N.C. Ct. App.
2002); Schatz v. Republican State Leadership Comm., 669 F.3d 50, 53 (1st Cir. 2012); Vander Linden v. Wilbanks,
128 F. Supp. 2d 900, 902 (D.S.C. 2000); Pub. Office Corp. v. Clinton for President Comm., 194 F.3d 139, 142 (D.C.
Cir. 1999) (Committee was proper defendant for alleged defamatory comments by the committee in a response to
the Federal Elections Commission).
17
   See The Team Working for You v. Ohio Elections Comm., 754 N.E.2d 273, 281 (Ohio Ct App. 2001) (finding that
individual members of a committee and the committee itself could be liable for the same act); Dewine v. Ohio
Elections Comm’n, 399 N.E.2d 99, 101 (Ohio Ct. App. 1978) (“The minutes further indicate that the defendant
commission found no violation with respect to two other complaints made against either plaintiff or his committee.”)
18
   Miller v. F.C.C., 66 F.3d 1140, 1145 (11th Cir. 1995) (Candidate campaign committees have been proper
plaintiffs in cases against regulatory agencies where they have alleged a harm of restriction of “the goal of increased
candidate access to the broadcast media.” Plaintiffs’ claims were denied on other grounds.); See generally
Republican Party of Minnesota v. White, 536 U.S. 765, 777 (2002) (Political committees had standing to bring First
Amendment challenges.); Nat’l Right To Life Political Action Comm. v. Friends of Bryan, 741 F. Supp. 807, 811 (D.
Nev. 1990) (Finding that the “Plaintiff is sufficiently distinguishable from the corporation, National Right to Life

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         For example, one court found that a candidate’s claim in a defamation case was so

intertwined with his campaign committee that expenditures for legal fees in a defamation action

brought by a candidate must be reported as campaign expenditures. Thirteen Comm. v. Weinreb,

214 Cal. Rptr. 297, 299 (Cal. Ct. App. 1985) (“In light of the findings that the primary objective

of the lawsuit was to vindicate her personal reputation in furthering her quest for the elective

office, the trial court’s determination that the attorney fees were incurred and expended for

a political purpose must be upheld”) (emphasis in original).

         WJFW-NBC argues that in other circumstances the Trump Campaign has distinguished

itself from Donald Trump in his personal capacity. (Doc.9: 11). This is not relevant to whether

the false, manufactured statement is “of and concerning” the Trump Campaign. Moreover, the

cited material merely shows that the candidate and his campaign committee are distinct from

Donald Trump acting in his capacity as President. In the FEC matter defendant references

(Doc.9: 11); (Doc.12-4: 2 n.1), the Trump Campaign reiterates that Donald Trump in his

“capacity as a candidate” is intertwined with the Trump Campaign, and again, that there is a

“very clear distinction between being ‘President’ and being ‘a candidate in a campaign.’”

(Doc.9: 12); (Doc.12-5: 7). This is consistent with the fact that the Trump Campaign and the

candidate, when he is acting in his capacity as candidate – for example, speaking as the candidate

at a campaign rally – are inextricably intertwined.19




Committee, Inc., so as to maintain this suit as a party plaintiff.”); Friends of Phil Gramm v. Americans for Phil
Gramm in '84, 587 F. Supp. 769, 778 (E.D. Va. 1984) (Plaintiff, a personal campaign committee, had standing to
allege harm to its candidate and the ability to solicit funds and other First Amendment claims.)


19
  In this case, the only plaintiff is the Trump Campaign. Candidate Trump has chosen not to join the action as a
plaintiff, which is his right. This action asserts a defamation claim by the Trump Campaign and seeks to recover its
damages from the defamation.

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       B.      The False, Manufactured Statement is “Of and Concerning” the Trump
               Campaign.

       The false, manufactured statement in the PUSA ad was “of and concerning” the Trump

Campaign. Donald J. Trump is of course the Trump Campaign’s candidate for the 2020

Presidential Election. (Doc.1-2: 7); (Compl. ¶ 9). The Trump Campaign is responsible for,

among other things, coordinating and organizing political and fundraising appearances, creating

and/or purchasing political advertising on behalf of the candidate, collecting contributions for the

candidate and reporting them to federal regulators as required by law, and making expenditures

on behalf of the candidate, each and all for the sole purpose of re-electing its candidate as

President of the United States. (Doc.1-2: 7); (Compl. ¶ 11).

       Candidate Trump is one of many people authorized to speak, and who does speak, on

behalf of the Trump Campaign. (Doc.1-2: 7); (Compl. ¶ 12). The purported statements of any

authorized speaker alleged to have been made on behalf of the Trump Campaign impact the

Trump Campaign. (Id.)

       Statements represented as made by candidate Trump at campaign appearances and

speeches of course reflect upon and concern the Trump Campaign. The false statement depicted

in the PUSA ad as being made by candidate Trump reflects upon the Trump Campaign since it

was purportedly a statement made by the Trump Campaign’s candidate at a campaign rally.

(Doc.1-2: 7); (Compl. ¶ 13); see also (Doc.9: 10, 11-12) (Asserting that “The President’s ‘hoax’

statement, included in the montage, came from his address to a South Carolina rally” and arguing

that candidate Trump “made the ‘hoax’ comment at a campaign rally in Charleston, South

Carolina on February 28, 2020.”).

       As WJFW-NBC itself notes, the PUSA ad was broadcast “just months before a

presidential election.” (Doc.9: 8). A recipient/viewer of the PUSA ad would reasonably


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understand the false communication to refer to the Trump Campaign. The manufactured

statement took audio clips of separate words said by candidate Trump at a campaign rally, taking

audio of the candidate’s words “The coronavirus” from earlier in the speech, and stitching them

together with words said later in the speech: “this is their new hoax.”

         The PUSA ad communicates a false, manufactured statement of the candidate, which he

did not make. It manufactures an audio clip statement by stitching together audio clips, putting

them together and representing it textually as one sentence: “The coronavirus, this is their new

hoax.”

         This statement is of and concerning the Trump Campaign because it falsely

communicates a statement in the candidate’s own words that the candidate did not say. Portions

of the audio clips were made at a campaign rally. After seeing the PUSA ad, if a viewer

searched for the South Carolina Campaign Speech, he or she would see the candidate speaking at

a campaign rally. (Doc.1-2:9, 10, 11, 28); (Compl. ¶¶ 24, 30, 34, 35, Ex. C). Indeed, articles

published after the rally identified the false, manufactured statement as utilizing audio clips

pulled from the rally, purporting to represent the candidate’s words stated at the rally. (Doc.1-2:

12-13, 46-51, 53-57); (Compl. ¶¶ 40-44, Exs. E, F). By manufacturing a false statement

purportedly made by the candidate at a campaign rally that he did not make, defendant made a

false communication of and concerning the Trump Campaign.

         The Trump Campaign is a nonprofit corporation that depends upon support from the

public, and the false, manufactured statement tends to interfere with its activities by prejudicing

it in the public’s estimation. Restatement (Second) of Torts § 561. The Trump Campaign’s

effort to acquire votes necessarily rests upon its and its candidate’s reputation. (Doc.1-2: 7);




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(Compl. ¶ 15). The PUSA ad was created in order to affect voting behavior of members of the

voting public and influence the 2020 presidential election. (Doc.1-2: 7); (Compl. ¶ 14).

        Further, the false, manufactured statement, “The coronavirus, this is their new hoax” was

communicated by presidential candidate Joe Biden in a campaign advertisement distributed on

March 3, 2020. (Doc.1-2: 12); (Compl. ¶ 40). (See pages 9, 10-12, above). Similarly, in an

interview, former presidential candidate Mike Bloomberg accused candidate Trump of calling

the coronavirus a “hoax” at the South Carolina campaign rally. (Doc.1-2: 12); (Compl. ¶ 38).

That statement was immediately corrected as being wrong by CBS reporter Scott Pelley. (Id.)

        Because the false, manufactured statement was represented to be an actual statement

made by candidate Trump at the South Carolina rally, an event of the Trump Campaign, made by

the candidate Trump, a viewer or listener of the PUSA ad would reasonably understand the false

statement to concern the Trump Campaign. A viewer or listener would also understand the false

statement to concern the Trump Campaign because the last sentence of the PUSA ad

demonstrates it is about the Presidential campaign, saying at the closing: “America needs a

leader we can trust.”

        Accordingly, the Complaint states a claim for defamation “of and concerning” the Trump

Campaign and it has standing to assert the defamation claim in this case. (Doc.1-2: 19); (Compl.

¶¶ 65, 67 68).

III.    The Manufactured Statement Was False and Defamatory

        WJFW-NBC misunderstands or intentionally mischaracterizes the defamation claim in

this case. In its Complaint, the Trump Campaign asserts that the following statement – the

opening statement – in the PUSA ad is defamatory of the Trump Campaign:

                        The coronavirus, this is their new hoax.



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This action does not claim defamation for each and every statement in the PUSA ad. As

described by WJFW-NBC, the PUSA ad consists of a “montage” of statements purporting to be

statements made by candidate Trump. (Doc.9: 9, 10 & n.2). Those nine separate statements are

depicted through both audio clips and a visual representation of the same statement in text,

appearing on the screen at the same time as the corresponding audio clips. According to WJFW-

NBC, these statements were made at different times, in different speeches or press conferences.

(Doc.9: 9-10 n.2).

       The PUSA ad begins with the statement consisting of stitched together audio representing

in the manufactured audio clips and the textual representation that candidate Trump made the

following statement, as a sentence: “The coronavirus, this is their new hoax.” That statement is

false and defamatory of the Trump Campaign.

       If the false representation that candidate Trump made that statement is susceptible to a

defamatory meaning by some number of persons (even a minority), then it is defamatory as a

matter of law and the motion to dismiss must be denied. The Trump Campaign sues based upon

this single false statement, which is defamatory of the Trump Campaign. Masson v. New Yorker

Magazine, Inc., 501 U.S. 496, 509–10 (1991) (“ ‘[T]he test of libel is not quantitative; a single

sentence may be the basis for an action in libel even though buried in a much longer text,’

though the California courts recognize that ‘[w]hile a drop of poison may be lethal, weaker

poisons are sometimes diluted to the point of impotency.’ ”) (quoting Washburn v. Wright, 68

Cal. Rptr. 224, 228 (Cal. Ct. App. 1968).)

       WJFW-NBC is simply wrong in suggesting that the defamatory nature of the

manufactured statement can be minimized or eliminated by placing it first in a “montage” of

different statements made by candidate Trump or by the President at press conferences or other



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appearances. See Amoroso v. Schuh, 278 F. Supp. 3d 1106, 1113 (W.D. Wis. 2017)

(“[O]therwise defamatory statements cannot be rendered non-actionable simply because they are

incorporated into a larger communication having a proper purpose.”). Moreover, the false

statement is the opening sentence of a 30-second attack ad. Since the statement opens the PUSA

ad and the ad is so brief, the false statement is not “diluted to the point of impotency” by being

included in the montage ad.

        The Complaint properly pleads that the manufactured statement is false in that it was

never made by candidate Trump and it is represented to be a sentence uttered by him. Further,

the defamation is the representation that the false statement was said by candidate Trump. The

representation that the manufactured statement was said is defamatory because it has a tendency

to deter persons from supporting the Trump Campaign and it is used to attack the campaign and

its candidate.

        A.       Statement Must be False and Defamatory.

        The elements of a defamation claim are: (1) a false statement, (2) communicated by

speech, conduct, or in writing to a person other than the person defamed, and (3) the

communication is unprivileged and is defamatory, that is, tends to harm one’s reputation so as to

lower him or her in the estimation of the community or to deter third persons from associating or

dealing with him or her. Hart v. Bennet, 2003 WI App 231, ¶ 21, 267 Wis. 2d 919, 672 N.W.2d

306.

                 1.    Statement Must be Capable of a Defamatory Meaning

        Whether a particular communication is capable of a defamatory meaning is a question of

law. Uebelacker v. Paula Allen Holdings, Inc., 464 F. Supp. 2d 791, 800 (W.D. Wis. 2006).

“ ‘The legal standard for determining whether a statement or implication is capable of conveying



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a defamatory meaning is whether it is reasonably capable of conveying a defamatory meaning to

an ordinary mind and whether the meaning ascribed by the plaintiff is a natural and proper

one.’ ” (Id.) (citation omitted).

       If the asserted statement is “capable of a conveying a defamatory implication about

plaintiff,” the motion to dismiss must be denied. (Id.) Whether viewers or listeners “actually

ascribed a defamatory meaning to the error cannot be determined on a motion to dismiss.” (Id.)

“At this stage of the pleadings, however, it is sufficient that the error is capable of a conveying a

defamatory implication about plaintiff.” (Id.)

       If the alleged defamation is capable of both a defamatory and non-defamatory meaning,

the motion to dismiss must be denied. See Liberty Mut. Fire Ins. Co. v. O’Keefe, 205 Wis. 2d

524, 527, 556 N.W.2d 133 (Ct. App. 1996) (“If we conclude that statements are capable of both

a defamatory and a non-defamatory meaning, we must reverse and remand for trial, for in that

instance, the ultimate determination is for the jury.”); Martin v. Outboard Marine Corp., 15 Wis.

2d 452, 462, 113 N.W.2d 135 (1962) (“If the court determines the communication is capable of

an innocent meaning as well as a defamatory meaning, it is then for the jury to determine

whether the communication capable of a defamatory meaning was so understood by its

recipient.”); see also Starobin v. Northridge Lakes Dev. Co., 94 Wis. 2d 1, 10, 287 N.W.2d 747,

751 (1980) (“If the communication is capable of a defamatory as well as a non-defamatory

meaning then a jury question is presented. Only if the communication cannot reasonably be

understood as defamatory can the motion to dismiss be granted.”).

               2.      A False, Manufactured Statement Misstating What the Plaintiff Said
                       is Actionable Defamation.

       WJFW-NBC desperately seeks to avoid the actual claim asserted in this case, wrongly

assuming that this action sues for the PUSA ad as a whole, claiming all of its statements are false


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and defamatory. That is not the case. This action alleges that the lead-off statement in the PUSA

ad is false and defamatory of the Trump Campaign because it stitches together audio clips to

represent that candidate Trump made a statement he did not make: “The coronavirus, this is

their new hoax.” The PUSA ad, by stitching together the audio clips and representing it by text

as a single sentence, represents that the candidate made that statement. On this motion to

dismiss, it must be assumed as true the candidate did not make that statement. As seen by the

remarks at the South Carolina campaign rally, the candidate did not say that sentence as

represented.

       By taking disparate audio clips of the candidate said at different times and putting them

together as a single sentence, the manufactured statement presents audio of a sentence never

uttered by the candidate. This is analogous – though far worse – to an article of an interview

with a person, purporting to include the person’s own words, verbatim, by placing them in

quotes, but intentionally altering the person’s words in a manner that changes their meaning. In

Masson v. New Yorker Magazine, Inc., 501 U.S. 496 (1991), the New Yorker published an article

and Alfred A. Knopf published a book about Jeffrey Masson, a noted psychoanalyst. The article

and book were published including passages purporting to include verbatim quotes of Masson’s

own words. Masson’s actual statements were captured in audio recordings of the interviews.

       In Masson, the U.S. Supreme Court held that a claim for defamation is established by

showing that purported quotations of the plaintiff, which were substantively altered in a manner

that negatively affects the plaintiff’s reputation. The Supreme Court explained:

               Deliberate or reckless falsification that comprises actual malice turns upon
       words and punctuation only because words and punctuation express meaning.
       Meaning is the life of language. And, for the reasons we have given, quotations
       may be a devastating instrument for conveying false meaning. In the case under
       consideration, readers of In the Freud Archives may have found Malcolm’s
       portrait of petitioner especially damning because so much of it appeared to be a

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       self-portrait, told by petitioner in his own words. And if the alterations of
       petitioner’s words gave a different meaning to the statements, bearing upon their
       defamatory character, then the device of quotations might well be critical in
       finding the words actionable.

Masson, 501 U.S. at 517-18 (emphasis added).

       The use of statements in quotation marks, which a reasonable reader would conclude

purports to be a verbatim statement by the speaker, represent the speaker’s own words and not

the article author’s own interpretation of the speaker’s intended meaning. As the Supreme Court

explained:

       Where . . . a writer uses a quotation, and where a reasonable reader would
       conclude that the quotation purports to be a verbatim repetition of a statement by
       the speaker, the quotation marks indicate that the author is not involved in an
       interpretation of the speaker’s ambiguous statement, but attempting to convey
       what the speaker said. This orthodox use of a quotation is the quintessential
       “direct account of events that speak for themselves.” Time, Inc. v. Pape, supra,
       401 U.S., at 285, 91 S. Ct., at 637. More accurately, the quotation allows the
       subject to speak for himself.

Masson, 501 U.S. at 519 (emphasis added).

       The Court reasoned that a “fabricated quotation may injure reputation” by attributing “an

untrue factual assertion to the speaker,” which is harmful to the speaker’s reputation. (Id. at

511.) Alternatively, beyond a factual assertion, a fabricated quotation “may result in injury to

reputation because the manner of expression or even the fact that the statement was made

indicates a negative personal trait or an attitude the speaker does not hold.” (Id.) Thus, a

falsified statement of opinion by the plaintiff may be defamatory. In Masson, the Court cited as

an example a controversial statement such as John Lennon’s purported statement about the

Beatles: “We’re more popular than Jesus Christ now.” Assuming Lennon did not in fact say

that, the Court reasoned that the misattribution would be defamatory of John Lennon because it

quotes him as expressing a view by a statement he did not actually make. (Id. at 511-12).



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        Given a statement falsely quoting a speaker as making a statement he did not say, and/or

altering the speaker’s words, the Supreme Court explained that it must determine whether the

published statement differs “materially in meaning from the” speaker’s actual words, so as to

create an issue of fact regarding falsity and to establish defamation. (Id. at 521-22). In Masson,

the Court considered each altered quote separately, to determine whether the difference was

material and the altered quote was injurious to the speaker’s reputation. (Id. at 523-24). The

elements of falsity and defamation were established where the actual words and falsely attributed

quotations materially differed in a manner such that the altered quote reflected poorly on the

plaintiff. (Id.)

        B.         The Manufactured Statement is False and Defamatory Under Masson.

        Masson is controlling authority in this case. WJFW-NBC fails to apply the Masson test,

which separately considers the false statement attributed to the plaintiff to determine whether

alterations in the speaker’s words are materially different and defamatory. Defendant wrongly

argues for application of “substantial truth,” asserting that the Court should consider all the

separate statements in the PUSA ad to determine whether the ad as a whole is more true than

false. (Doc.9: 27-29). That analysis has no application here because only a single statement in

the “mosaic” advertisement is alleged to be defamatory.

        Defendant also wrongly argues, contrary to Masson, that the manufactured statement

must be considered in the context of the other statements in the PUSA ad. (Doc.9: 29). For this

point, defendant improperly cites Marjala, a “per curiam” decision of the Wisconsin Court of

Appeals. (Doc.9: 22, 23, 26). That case cannot be cited for any purpose and it must be

disregarded. Wis. Stat. § 809.23(3); Munger v. Seehafer, 2016 WI App 89, ¶ 49 n.15, 372 Wis.

2d 749, 890 N.W.2d 22 (“In responding to this argument, the Respondents cite an unpublished



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court of appeals per curiam decision. This is improper, and we admonish counsel that future

violations of the Rules of Appellate Procedure may result in sanctions. See WIS. STAT. RULE

809.23(3)(a); 809.83(2)”).20

        As noted at page 29, above, a defamation action may be premised upon a single statement

communicated concerning plaintiff. WJFW-NBC fails to apply the test required by Masson and

compare the manufactured statement to determine whether it was materially different than the

actual statement made at the South Carolina rally.

        Applying the Supreme Court’s two-step test of Masson, the manufactured statement must

be examined to compare the actual statement to the manufactured, altered statement. The

opening sentence of the PUSA ad puts together audio clips of candidate Trump to falsely

represent that he said: “The coronavirus, this is their new hoax.” The ad has those words with

that punctuation, represented to be a sentence.

        This is materially different from the words actually stated by candidate Trump at the

South Carolina rally. First, the candidate did not say those words together. He did not say:

“The coronavirus, this is their new hoax. “

        Second, the actual words of the candidate in the South Carolina Campaign Speech are

different and have a materially different meaning. In the speech, candidate Trump says that the

Democrats’ attack on the administration’s response to the coronavirus is “politicizing” the




20
  See Harnischfeger Corp. v. Harbor Ins. Co., 927 F.2d 974, 976, 1991 WL 34587 (7th Cir. 1991) (“A noncase for
Wisconsin’s own purposes is a non-case in federal courts under Erie.”); Wisconsin Cent. Ltd. v. Acuity, 2011 WL
208404, at *4 n.5 (E.D. Wis. Jan. 21, 2011) (“WCL also cites to an unpublished appellate court decision, but this
court may not consider it because the rules of Wisconsin appellate procedure prohibit the citation of unpublished
appellate opinions for precedent or authority.”) The Court has considered cases issued after July 1, 2009 that are
authored but unpublished and therefore citeable under the Wisconsin rules. See, e.g., A & B Distrib., Inc. v.
Heggie’s Pizza, LLC, 2019 WL 6837858, at *2 n.1 (W.D. Wis. Dec. 16, 2019)


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coronavirus. That tactic is the Democrats’ new hoax. Utilizing defendant’s “transcript”21 of the

South Carolina campaign rally speech of February 28, 2020 (Doc.10, Ex. A); (Doc.10-1),

candidate Trump says “Now the democrats are politicizing the Coronavirus. You know that,

right.” (Doc.10, Ex. A); (Doc.10-1: 6). Candidate Trump says: “Coronavirus, they’re

politicizing it. We did one of the great jobs. You say, ‘How’s President Trump doing?’ They

go, ‘Oh, not good, not good.” (Doc.10-1: 7). Candidate Trump goes on to discuss the ways in

which opponents attempted to attack the administration, including “Russia,” and the

“impeachment hoax.” (Doc.10-1: 7). He goes on to say “They’ve been doing it since you got

in.” and some more words. (Doc.10-1: 6). He then states: “And this is their new hoax.”

(Doc.10-1: 8).

         The opening audio and text of the PUSA ad falsely represents candidate Trump as saying:

“The coronavirus, this is their new hoax.” As shown, these words were not uttered by the

candidate. The manufactured audio falsely represents that the candidate said these words

together, in a sentence, when he did not make that statement. The manufactured audio

materially alters candidate Trump’s words stated at the South Carolina rally.

         The South Carolina Campaign Speech was approximately 1 hour and 25 minutes in total,

and during this speech candidate Trump’s remarks covered a number of issues, including the

coronavirus pandemic, the vote counting issues at the Iowa Caucus, immigration and healthcare

policy, and tactics used by his political opponents to affect his reelection, including the

“impeachment hoax.” (Doc.1-2: 9); (Compl. ¶ 25). Six minutes and 5 seconds into the speech,

candidate Trump says: “Now the Democrats are politicizing the coronavirus . . . .” (Id.) After

saying other words, approximately 45 seconds later, candidate Trump then refers to the
21
  Plaintiff does not stipulate to the admissibility or authenticity of the transcript or admit that it is correct. Plaintiff
will accept it for purposes of responding to defendant’s motion to dismiss, preserving all rights to challenge its
authenticity or admissibility.

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“impeachment hoax” and about 15 seconds later he refers to his political opponents’

characterization of his response to the coronavirus, saying “this is their new hoax.” (Doc.1-2: 9-

10); (Compl. 25).

           The opening audio and textual sentence of the PUSA ad was not said by the candidate

and the change was a material alteration under the Masson test. And a jury could find the

altered statement to be defamatory of the Trump Campaign and it has a tendency to deter other

persons from dealing with the campaign, affecting votes or monetary support. In short, the

manufactured statement provided a basis to attack the merits of the Trump Campaign. (Indeed,

the false representation that candidate Trump made that statement was used by his political

opponents to attack him in the presidential campaign. See pages 9, 10-12, above.

         The statement is defamatory because the altered statement reflects poorly on the

candidate and the campaign. That element is properly pleaded in the Complaint. (Doc.1-2: 16-

17, 19-20); (Compl. ¶¶ 54, 64, 65, 67, 68, 73, 74). WJFW-NBC mischaracterizes the defamation

claim, arguing that it is not defamation because the statement does not charge “dishonorable,

unethical, unlawful, or unprofessional conduct.” (Doc.9: 17). However, the Complaint alleges

that the manufactured statement has a tendency to deter third parties from dealing with the

Trump Campaign, for example, by not voting for the candidate. (Doc.1-2: 16-17, 19); (Compl.

¶¶ 54, 65). It has that tendency because the manufactured statement is defamatory on its face.22

That is, the false representation that candidate Trump made the manufactured statement is

defamatory.


22
   In that respect, this case is distinguishable from Tatur v. Solsrud, 174 Wis. 2d 735, 498 N.W.2d 232 (1993), cited
by WJFW-NBC (Doc.9: 20). In that case, letters falsely represented how political candidates voted on particular
issues, allegedly causing voters not to vote for them. The Court held that a defamation claim was not stated because
the letters on their face did not contain statements “capable of a defamatory meaning.” (Id. at 740.) To state a
claim, the statement must be defamatory on its face, causing the plaintiff to lose votes. Here, the false,
manufactured statement is defamatory on its face.

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       The PUSA ad falsely represents that candidate Trump stated at a campaign rally that

“The coronavirus, this is their new hoax.” It is a manufactured statement by candidate Trump

that he never actually said. The actionable falsity is the representation that this was candidate

Trump’s statement. He never said it, and WJFW-NBC knew that when it chose to continue

broadcasting the ad. See pages 12 to 13, above, and pages 45 to 47 below.

       The PUSA ad’s statement comprised of stitched together audio clips is defamatory. A

reasonable listener or viewer hearing or seeing the false, manufactured statement would hear

and/or see that that candidate Trump called the coronavirus a “hoax.” From that false statement,

the listener or viewer could reasonably conclude that candidate Trump believed the coronavirus

was not real or was exaggerated and/or that he did not take the coronavirus danger seriously.

The only nouns in the falsified statement are “The coronavirus” and “new hoax,” communicating

that candidate Trump was referring to the coronavirus as “their new hoax,” suggesting it was a

crisis made up by others (“their”). This material difference is defamatory, and, similar to the

false quotations in Masson, a jury could reasonably find the altered statement to be defamatory

of the Trump Campaign. The false, manufactured statement was utilized to reflect negatively on

candidate Trump.

       For these reasons, the false, manufactured statement could reasonably be interpreted to be

defamatory. Accordingly, the Complaint states a claim for defamation as a matter of law.

       C.      Defendant’s “Opinion” and “Entire Ad” Arguments Are Inapplicable.

       WJFW-NBC argues that the PUSA ad is not actionable because the ad, as a whole,

expresses an “opinion” about candidate Trump’s policies, not a “verifiable fact.” (Doc.9: 21, 23-

27). It also argues that the PUSA ad “as a whole” is substantially true in conveying the “gist” of

candidate or President Trump’s statements, considering all nine of the separate statements in the



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ad. (Doc.9: 27-30). Again, this mischaracterizes or misunderstands the nature of the claim in

this case. Plaintiff is not claiming that every one of the nine separate sentences in the PUSA ad

is false and defamatory. Rather, this action was filed because the opening sentence of the ad is

comprised of manufactured audio of candidate Trump making a statement he did not make. The

ad’s communication that candidate Trump made that statement is false and defamatory.

       Whether candidate Trump said the sentence communicated by the manufactured

statement is a verifiable fact question. It is not a statement of opinion. The defamation in this

case is not opinion because it is audio purporting to set forth the candidate’s own words.

Defendant misunderstands the concept of opinion under the First Amendment. The PUSA ad

includes statements purportedly by President Trump, with a closing line about needing “a leader

we can trust.” Excluding the closing tag line of the ad, the PUSA ad purports to communicate

verbatim statements by the President. Thus, WJFW-NBC is simply wrong in arguing that the

PUSA ad “as a whole reflects not a verifiable fact,” but PUSA’s opinion concerning the

President’s handling of the coronavirus. (Doc.9: 22).

        Indeed, as defendant describes the PUSA ad, it is an “audio montage” of statements by

President Trump. (Doc.9: 9). A “montage” is a juxtaposition of “heterogeneous elements,” a

composite picture made by combining several separate pictures, or a mixture of items. See

https://www.merriam-webster.com/dictionary/montage There are nine separate sentences in the

PUSA ad, consisting of audio clips of each sentence made by the President. Those statements

purportedly come from seven different speeches or statements, made at different times. (Doc.9:

10 & n.2). Each of these statements purports to be a factual statement, that is, audio of nine

different sentences presented by audio in the candidate Trump’s own words. It is not claimed




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that the other eight sentences have alterations of the audio clips or that they inaccurately

communicate the candidate’s words.

        The false and defamatory statement at issue in this case is not opinion. It is not a

statement providing a characterization and conclusion by another person (PUSA) expressing its

view of what the administration or candidate did or did not do. Rather, it is a montage of the

candidate’s own statements. That is not opinion.

        A defamation action may involve another person’s statement about the plaintiff,

characterizing the plaintiff’s position on something, or stating something plaintiff did. That is

not this case. In this case, the defamation is the representation that candidate Trump made the

manufactured opening statement, comprised of stitched -together audio clips of his words.

        In this case, the defamation is not a summary or characterization of the candidate’s

position or words, which were misinterpreted or inaccurately summarized. Rather, the PUSA ad

communicated a manufactured statement by candidate Trump that he never actually said. The

actionable falsity is that this was candidate Trump’s statement.

        Accordingly, defendant’s opinion argument has no relevance to the allegations and the

defamation claim in this case. Moreover, as recognized by Masson’s Beatles hypothetical (see

page 33, above), falsely representing the plaintiff’s statement of an opinion the plaintiff did not

say is actionable defamation.

IV.     The Complaint Properly Pleads Actual Malice.

        Because plaintiff is the campaign committee for a candidate for re-election to the office

of President of the United States, it is a public figure or public official under the First

Amendment for purposes of a defamation claim. WJFW-NBC, as a broadcaster of a false and

defamatory statement concerning a public official or public figure, is liable for defamation if it



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knew the statement was false or it acted with reckless disregard of the truth or falsity of the

statement.

        A.       Actual Malice is Established by Knowing Falsity Including Manufactured
                 Statements Not Actually Made by Plaintiff.

        WJFW-NBC fails to set forth a complete and accurate statement of the “actual malice”

standard, a standard that is well established in case law. (Doc.9: 16, 30, 31).23 Actual malice

requires proof “that the allegedly defamatory statement be made with ‘knowledge that it was

false or with reckless disregard of whether it was false or not.’ Sullivan, 376 U.S. at 280, 84 S.

Ct. 710.” Storms v. Action Wis. Inc., 2008 WI 56, ¶ 38, 309 Wis. 2d 704, 750 N.W.2d 522.

Reckless disregard is a “subjective standard.” Storms, 2008 WI 56, ¶ 39. “It requires showing

that the false statement was made ‘with a high degree of awareness of ... probable falsity,”

Garrison v. Louisiana, 379 U.S. 64, 74, 85 S. Ct. 209, 13 L.Ed.2d 125 (1964), or that the

defendant “in fact entertained serious doubts as to the truth of his publication.” St. Amant v.

Thompson, 390 U.S. 727, 731 (1968).

        If the publisher knew the statement was false, the constitutional protection of actual

malice does not apply. Restatement (Second) of Torts § 580A, Comment d. See also pages **

to 32-34, above. That protection also does not apply if the publisher acted in reckless disregard

of the truth or falsity of the statement. (Id.)

        Actual malice is determined based upon what defendant knew at the time it made the

decision to publish the alleged defamatory matter. Pippen v. NBCUniversal Media, LLC, 734

F.3d 610, 614 (7th Cir. 2013). It is not actual malice to fail to retract once it is broadcast. (Id.)




23
  Contrary to defendant’s suggestion (Doc.9: 16), Torgerson applies this actual malice standard: “Proof of actual
malice requires a showing that the defamatory falsehood was published with knowledge of its falsity or with
reckless disregard for its truth.” Torgerson v. Journal/Sentinel, Inc., 210 Wis. 2d 524, 536, 563 N.W.2d 472 (1997).

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That general rule does not apply, however, when the defendant faces the decision to broadcast

the false matter again after learning of the falsity. Actual malice must be determined anew.

       “Republication of a statement after the defendant has been notified that the plaintiff

contends that it is false and defamatory may be treated as evidence of reckless disregard.”

Restatement (Second) of Torts § 580A, Comment d. See Young v. Gannett Satellite Info.

Network, Inc., 837 F. Supp. 2d 758, 766 (S.D. Ohio 2011) (“As this Court has recently

explained, a showing of actual malice may be premised on evidence ‘demonstrating that the

alleged defamer purposefully avoided or deliberately ignored facts establishing the falsity of its

statements.’ ”); Bentley v. Bunton, 94 S.W.3d 561, 596 (Tex. 2002) (“An understandable

misinterpretation of ambiguous facts does not show actual malice, but inherently improbable

assertions and statements made on information that is obviously dubious may show actual

malice. A failure to investigate fully is not evidence of actual malice; a purposeful avoidance of

the truth is. Imagining that something may be true is not the same as belief.”).

       Evidence of known fabrication proves actual malice. Deripaska v. Associated Press, 282

F. Supp. 3d 133, 143–44 (D.D.C. 2017) (“The kinds of evidence that would ‘likely support a

finding of actual malice’ include evidence of fabrication.”). Accordingly, disregard or avoidance

of evidence of fabrication and publication of the fabricated statement would establish actual

malice. See Turner v. KTRK Television, Inc., 38 S.W.3d 103, 120 (Tex. 2000) (A publisher's

presentation of facts is a “calculated falsehood” if “the publisher knows or strongly suspects that

it is misleading.”); Stevens v. Sun Pub. Co., 240 S.E.2d 812, 815 (S.C. 1978) (“[R]ecklessness

may be found where there are obvious reasons to doubt the veracity of the informant or the

accuracy of his reports.”)




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       In a defamation action relating to advertising statements concerning a candidate for

public office, a complaint can plead “actual malice.” Specifically: “Among other allegations,

plaintiffs stated that they repeatedly informed defendants as to the alleged falsity of their

statements, but that defendants continued to publish the offending advertisement.” Boyce &

Isley, PLLC v. Cooper, 568 S.E.2d 893, 901 (N.C. Ct. App. 2002), writ denied, review denied,

appeal dismissed, 580 S.E.2d 361 (N.C. 2003).

       Knowing and intentional fabrication of an audio statement published in an advertisement

is by definition actual malice because it is publication with knowledge of or reckless disregard

for the truth or falsity of the statement. See Masson, 501 U.S. at 517-18. In Masson, an author

misquoted the plaintiff, changing the plaintiff’s words in an interview, and falsely representing

the plaintiff’s words in quotations. In other contexts, the Court reasoned that there is some room

for “rational interpretation” of the plaintiff’s meaning when the author is relying upon

“ambiguous sources” to write about plaintiff. (Id. at 519.)

       However, where the author is purporting to quote the plaintiff’s own words, the First

Amendment does not afford the author “interpretative license”:

               The protection for rational interpretation serves First Amendment
       principles by allowing an author the interpretive license that is necessary when
       relying upon ambiguous sources. Where, however, a writer uses a quotation, and
       where a reasonable reader would conclude that the quotation purports to be a
       verbatim repetition of a statement by the speaker, the quotation marks indicate
       that the author is not involved in an interpretation of the speaker’s ambiguous
       statement, but attempting to convey what the speaker said. This orthodox use of a
       quotation is the quintessential “direct account of events that speak for
       themselves.” Time, Inc. v. Pape, supra, 401 U.S., at 285, 91 S. Ct., at 637. More
       accurately, the quotation allows the subject to speak for himself.

               The significance of the quotations at issue, absent any qualification, is to
       inform us that we are reading the statement of petitioner, not Malcolm’s rational
       interpretation of what petitioner has said or thought. Were we to assess
       quotations under a rational interpretation standard, we would give journalists the
       freedom to place statements in their subjects’ mouths without fear of liability. By


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       eliminating any method of distinguishing between the statements of the subject
       and the interpretation of the author, we would diminish to a great degree the
       trustworthiness of the printed word and eliminate the real meaning of quotations.
       Not only public figures but the press doubtless would suffer under such a rule.
       Newsworthy figures might become more wary of journalists, knowing that any
       comment could be transmuted and attributed to the subject, so long as some
       bounds of rational interpretation were not exceeded. We would ill serve the
       values of the First Amendment if we were to grant near absolute, constitutional
       protection for such a practice. We doubt the suggestion that as a general rule
       readers will assume that direct quotations are but a rational interpretation of the
       speaker’s words, and we decline to adopt any such presumption in determining
       the permissible interpretations of the quotations in question here.

Masson, 501 U.S. at 519 (emphasis added). The Court held that “deliberate alteration” of a

plaintiff’s words in a quotation included in an article will equate with knowledge of falsity for

purposes of the actual malice standard if “the alteration results in a material change in the

meaning conveyed by the statement.” (Id. at 517). “The use of quotations to attribute words not

in fact spoken bears in a most important way on that inquiry, but it is not dispositive in every

case.” (Id.)

       Masson makes clear that the First Amendment does not permit a publisher to manipulate

the words of the plaintiff as the audio clips of candidate Trump’s words were manipulated to

create a false statement in the PUSA ad. Actual malice is established where the words are

manipulated to make a statement the plaintiff did not in fact make, when the difference between

the actual statement and the manipulated statement is material.

       Contrary to WJFW-NBC’s argument, the truth or falsity of the manufactured statement

presented as audio of the statement of candidate Trump does not turn upon the candidate’s

intended meaning in his statements at the South Carolina rally. (Doc.9: 33). Masson directly

rejects WJFW-NBC’s argument that the “rational interpretation” approach to falsity applies in




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this case.24 As held in Masson, the “rational interpretation” approach to the meaning of a

plaintiff’s words does not apply when the plaintiff’s words are purported to be presented

verbatim in quotation marks.25 Thus, Masson expressly held that the rational interpretation

analysis of Time, Inc. v. Pape, 401 U.S. 279 (1971) and Bose Corp. v. Consumers Union of

United States, Inc., 466 U.S. 485 (1984) do not apply to claims of defamation based upon falsely

attributed statements. WJFW-NBC is incorrect in suggesting that Time and Bose apply here.

(Doc.9: 33).

         That holding applies with equal, if not more, force to a statement comprised of audio

clips purportedly of the plaintiff’s own words. The question in this case is not the candidate’s

intended meaning of statements made in the South Carolina Campaign Speech, but rather: did

the candidate make the statement, as represented by the pieced-together audio statement? The

answer here is indisputably no.

         B.       The Complaint Adequately Pleads Actual Malice.

         The day after the PUSA ad began airing on WJFW-NBC, plaintiff sent it the Cease and

Desist Letter explaining the ad’s falsity and providing information from third-party fact checkers

confirming its falsity. (Doc.1-2: 5, 15, 58); (Compl. ¶¶ 2, 47-50, Ex. G). The Cease and Desist

Letter explained the nature of the false, manufactured statement, that it consisted of stitched

together fragments from different speeches and that it was falsely represented to be a statement

of the candidate which he did not in fact make. (Doc.1-2: 5, 15, 59-61); (Compl. ¶¶ 47-50, Ex.


24
   Metabolife Int’l, Inc. v. Wornick, 264 F.3d 832, 848 (9th Cir. 2001) (even if a complete, unpublished statement
would be subject to the rational interpretation doctrine, it is lost when the publisher uses only a small portion of the
full text and substantially changes its meaning by removing qualifications; “The sound bite presented by Wornick
and the station finds no protection in the rational interpretation doctrine.”); see also Anderson v. The Augusta
Chronicle, 585 S.E.2d 506, 517 (S.C. Ct. App. 2003) (“Masson, however, explicitly rejected ‘rational interpretation’
protection for defamatory statements in the context of alleged misquotations.), aff’d, 619 S.E.2d 428 (S.C. 2005).
25
   John v. Journal Commc’ns, Inc., 801 F. Supp. 210, 211 (E.D. Wis. 1992), cited by defendant (Doc.9: 27-28)
provides an example of an article reviewing historical matters and relying upon various sources. The rational
interpretation analysis properly applied in that case.

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G). The Cease and Desist Letter included a summary of the Washington Post Article, which

states that the Biden ad utilizing the same false audio statement was “video manipulation.”

(Doc.1-2: 62). The ad manipulated video to have candidate Trump call the coronavirus a hoax.

(Id.) It also summarizes the PolitiFact article calling the manipulated video “misleading” and

stating that audio clips were edited and stitched together to create a statement the candidate did

not make. (Id.) The Cease and Desist Letter further provided the actual words of candidate

Trump at the South Carolina rally, showing that he did not say: “The coronavirus, this is their

new hoax.” (Doc.1-2: 63).

       Thus, WJFW-NBC was provided in great detail information and evidence to show that

the stitched-together statement in the PUSA ad was false. Despite this overwhelming evidence,

WJFW-NBC decided to continue broadcasting the PUSA ad, airing it at least 36 more times

between March 25 and April 6. (Doc.1-2: 5, 25); (Compl. ¶¶ 2, 3, 51, Ex. G). The Complaint

therefore fully and adequately pleads actual malice in order to plead a plausible defamation

claim. (Doc.1-2: 18-20); (Compl. ¶¶ 61-64, 69-72). WJFW-NBC’s continuing to broadcast the

PUSA ad after receiving the Cease and Desist Letter establishes actual malice sufficient to state a

claim for defamation. See Masson v. New Yorker Magazine, Inc., 960 F.2d 896, 901 (9th Cir.

1992) (“Even if it finds that The New Yorker’s editors did not make a conscious decision to let

Malcolm alter Masson's statements, the jury could nevertheless conclude that The New Yorker

had developed ‘obvious reasons to doubt’ the accuracy of the quotations but, in an effort to

‘purposeful[ly] avoid[ ] ... the truth,’ failed to conduct a reasonable investigation of Masson's

claims of inaccuracy.”)

       WJFW-NBC argues that the Complaint fails to plausibly plead actual malice, because

candidate Trump’s full statement at the South Carolina rally shows that his intended meaning



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was ambiguous, that it could be interpreted to have different meanings. (Doc.9: 25-27).

However, as discussed above at pages 32 to 34, the meaning of the remarks in the candidate’s

speech is not the issue in this defamation action. The defamation is not an assessment or analysis

of the speech or a summary of the speech. It is not a statement by a pundit that “I believe” the

candidate called the coronavirus a hoax or he referred to it as a hoax. Rather, the false,

manufactured statement was comprised of manipulated audio clips stitched together to present

the candidate saying a sentence he never said. That is the defamation. Given this clear evidence

of fabrication, WJFW-NBC acted with actual malice in continuing to broadcast the PUSA ad

after being provided the evidence of the falsification.

       The Complaint states a claim upon which relief may be granted against WJFW-NBC for

defamation, including the element of actual malice. Accordingly, the motion to dismiss should

be denied.

V.     The Court Should Disregard Materials Submitted From Outside the Pleadings.

       WJFW-NBC submits numerous items from outside the Complaint to argue for dismissal

of this action. See (Doc.9: 10 n.2). Most of these materials are news articles and other

published items and they are not properly submitted on defendant’s motion to dismiss and

therefore must be disregarded by the Court.

       “A motion under Rule 12(b)(6) can be based only on the complaint itself, documents

attached to the complaint, documents that are critical to the complaint and referred to in it, and

information that is subject to proper judicial notice.” Geinosky v. City of Chicago, 675 F.3d 743,

745 (7th Cir. 2012) (citations omitted). “A court may take judicial notice of facts that are

(1) not subject to reasonable dispute and (2) either generally known within the territorial

jurisdiction or capable of accurate and ready determination through sources whose accuracy



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cannot be questioned.” Ennenga v. Starns, 677 F.3d 766, 773–74 (7th Cir. 2012) (citing Gen.

Elec. Capital Corp. v. Lease Resolution Corp., 128 F.3d 1074, 1081 (7th Cir. 1997)). “Judicial

notice is a powerful tool that must be used with caution.” Tobey v. Chibucos, 890 F.3d 634, 648

(7th Cir. 2018)

       The news articles are not undisputed facts of which the Court may take judicial notice

and they are not properly considered on defendant’s motion to dismiss. The articles are relied

upon to argue against the elements of a defamation claim including the falsity and defamatory

nature of the manufactured statement. The fact that defendant needs resort to outside materials

tends to show that the elements of defamation are disputed questions of fact and therefore not

appropriate for determination on a motion to dismiss. If the Complaint truly failed to state a

claim upon which relief may be granted, defendant would premise that argument solely on the

Complaint and its attachments and not need to rely upon the various outside articles.

       Further, the news articles and publications are not relevant to the issues on the motion to

dismiss. For example, WJFW-NBC asserts that it submits news articles and publications

concerning candidate Trump’s statement at the South Carolina rally to show that there was

“public confusion and controversy about the import of President Trump’s ‘hoax’ statement.”

(Doc.9: 13 n.5). That is not relevant in this case. As shown above, the interpretation of the

meaning of the candidate’s words is not at issue in this case, which involves a false,

manufactured statement piecing together audio clips of words that were not in fact said together

as represented. The manufactured statement is false because it presents audio of a statement that

was never made by candidate Trump. Further, this information shows at minimum a dispute of

fact that makes dismissal improper at this juncture.




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        The Court should exclude and not consider the outside materials submitted by WJFW-

NBC on its motion to dismiss.26 See Boyce & Isley, PLLC v. Cooper, 568 S.E.2d 893 (N.C. Ct.

App. 2002) (On a motion to dismiss defamation action, court held: “We also conclude that the

trial court did not err in refusing to take judicial notice of various newspaper articles submitted

by defendants, none of which was relevant to testing the legal sufficiency of plaintiffs’ complaint

or provided the basis for a complete defense to plaintiffs’ claims.”).

                                               CONCLUSION

        WJFW-NBC’s motion to dismiss should be denied.

        Dated this 27th day of May, 2020.


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   Otherwise, if the Court considers the outside materials to determine whether the Complaint states a claim, the
motion must be converted to a summary judgment and the Court must give the plaintiff notice of that fact and an
opportunity to respond pursuant to summary judgment procedures. “If a moving party relies on additional materials,
the motion must be converted to one for summary judgment under Rule 56. Fed. R. Civ. P. 12(d).” Geinosky, 675
F.3d at 745.

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